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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                           September 10, 2021
                        UNITED STATES DISTRICT COURT
                                                                            Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

MATTHEW ROPPOLO, et al,                    §
                                           §
         Plaintiffs,                       §
VS.                                        § CIVIL ACTION NO. 2:19-CV-262
                                           §
LANNETTE LINTHICUM, et al,                 §
                                           §
         Defendants.                       §

                           ORDER STRIKING MOTION

       Before the Court is Darell Wayne Phillips’ First Request for Extension of Time

(D.E. 368), seeking additional time to prosecute his appeal of the Court’s judgment in

this case. Any such request must be presented to the Court of Appeals for the Fifth

Federal Circuit and is not properly directed to this Court.    Consequently, the Court

STRIKES the motion (D.E. 368) as improperly filed in this Court.

       ORDERED this 10th day of September, 2021.

                                           ___________________________________
                                           NELVA GONZALES RAMOS
                                           UNITED STATES DISTRICT JUDGE




1/1
